                      Exhibit 15




Case 3:23-cv-00818-JAG-DCK   Document 296-2   Filed 04/05/24   Page 1 of 10
From:            Mueller, Nicole C.
To:              Anthony Jenkins
Cc:              Wylie, Joseph; McClurg, Daniel D.; Richard S. Cornfeld
Subject:         RE: Compass - class cert motion
Date:            Thursday, March 28, 2024 11:52:19 AM


Anthony,

We will be proceeding with our deposition of Mr. Baldwin tomorrow. If Mr. Baldwin does not
appear, we will seek sanctions.

Your purported cancellation—which comes the day before the deposition, and only after I requested
the contact information of the deposition participants—is particularly egregious given Mr. Baldwin’s
history in the case. This is the second time you have informed us, on the eve of Mr. Baldwin’s
noticed deposition, that you intend to withdraw him from the lawsuit. As you’ll recall, I cancelled my
non-refundable flight to Charleston last year, and my client incurred those fees as well as the cost of
the court reporter, when you cancelled his deposition days before it was scheduled to occur. At that
time, you informed me that Mr. Baldwin intended to withdraw due to “health concerns.”

But Mr. Baldwin did not, in fact, withdraw. Instead, four months later, he changed his mind and
decided to remain in the case, and agreed to sit for a deposition only after we filed a motion to
compel his deposition or his withdrawal.

This last-minute cancellation of depositions is not an isolated incident. As you know, the depositions
of other formerly- and currently-named plaintiffs were noticed on days suggested by you and/or
your co-counsel, properly noticed (and court reporters paid for), only to be cancelled at the last
minute, sometimes on the day of the deposition, after someone from my firm had travelled by plane
to the plaintiff’s home city. This happened on at least three occasions for Mr. Moore, with Ms.
Carter, Mr. Jilek, and indeed, with Mr. Baldwin.

From the above, we can only surmise that in preparing Mr. Baldwin for his deposition, you
uncovered some damaging information that you would prefer not be made part of the record. This is
not surprising given Mr. Baldwin’s purchasing history: he alleges that he continued to make
purchases at Compass vending machines long after he discovered (on his own reconnaissance) the
differential between cash and credit card purchase prices.

Finally, I’ll note that while your co-counsel has represented to me that Mr. Borrero will also be
withdrawing as a putative class representative and plaintiff—something I was told only after you
filed your motion for class certification and after we asked for a deposition date—he has not yet
moved to withdraw. Compass’ response to the motion for class certification is due in one week, and
it is being forced to respond to a motion that apparently includes two sub-classes that you have no
ability to represent.

This is highly prejudicial to Compass. Please confirm that Mr. Baldwin will appear at tomorrow’s
properly-noticed deposition.



Case 3:23-cv-00818-JAG-DCK                       Document 296-2           Filed 04/05/24   Page 2 of 10
Nicole



From: Anthony Jenkins <anthony@aswtlawyers.com>
Sent: Thursday, March 28, 2024 10:11 AM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; McClurg, Daniel D. <Daniel.McClurg@klgates.com>;
Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Compass - class cert motion
Nicole, After we met with Mr. Baldwin to prepare for his deposition, we learned he wishes to withdraw from the case because it is far more involved than he anticipated and he has a lot going on personally. I am as surprised as I imagine you
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                               This message came from outside your organization.


Nicole, After we met with Mr. Baldwin to prepare for his deposition, we learned he wishes to
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withdraw from the case because it is far more involved than he anticipated and he has a lot
going on personally. I am as surprised as I imagine you are. With the previous plaintiffs who
we dismissed, we dismissed them without prejudice as to their individual case so that they
could still be in the putative class. We’ll file a motion to dismiss Mr. Baldwin without
prejudice so he can remain in the putative class, unless you’ll stipulate. Please let me
know. Thank you.

BR,
Anthony Jenkins
714.675.1258



Anthony Jenkins |  Arias Sanguinetti  | (310) 844-9696

From: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Sent: Thursday, March 28, 2024 7:18 AM
To: Richard S. Cornfeld <rick@ghalaw.com>; Anthony Jenkins <anthony@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; McClurg, Daniel D. <Daniel.McClurg@klgates.com>
Subject: RE: Compass - class cert motion

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      open attachments unless you recognize the sender and know the content is safe]
Rick,

Can you let me know who will need access to the remote videoconference software for Mr.
Baldwin’s deposition tomorrow? I’ll share a link shortly.

Thanks,
Nicole



             Case 3:23-cv-00818-JAG-DCK                                                                                                                                                                                                            Document 296-2   Filed 04/05/24   Page 3 of 10
From: Mueller, Nicole C.
Sent: Wednesday, March 20, 2024 4:42 PM
To: 'Richard S. Cornfeld' <rick@ghalaw.com>; Anthony Jenkins <anthony@aswtlawyers.com>
Cc: Wylie, Joseph <Joseph.Wylie@klgates.com>; McClurg, Daniel D. <Daniel.McClurg@klgates.com>
Subject: RE: Compass - class cert motion

Rick,

March 29 at 2p ET works for Mr. Baldwin’s deposition. We’ll circulate a notice. To confirm, the
deposition will proceed by videoconference.

We are sorry to hear about Mr. Borrero, and are discussing your request to dismiss him with our
client.

Best regards,
Nicole


From: Richard S. Cornfeld <rick@ghalaw.com>
Sent: Friday, March 15, 2024 2:05 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>; Anthony Jenkins
<anthony@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>
Subject: RE: Compass - class cert motion
Nicole, we can offer Mr. Baldwin on March 29 at 2 PM Eastern. Mr. Baldwin will be in or near his home in Cameron, S. C. I understand that you plan to take the dep by Zoom. As for Mr. Borrero, we are unfortunately going to have to dismiss him.




Nicole, we can offer Mr. Baldwin on March 29 at 2 PM Eastern. Mr. Baldwin will be in or
near his home in Cameron, S.C. I understand that you plan to take the dep by Zoom.

As for Mr. Borrero, we are unfortunately going to have to dismiss him. We have learned that
he is suffering from traumatically induced brain damage, causing him short-term and long-
term memory loss, and therefore he canot satisfy the adequacy requirement of Rule 23.
Under these circumstances, will you stipulate to his dismissal? We will file a supplement to
our class cert motion withdrawing the request for a Florida subclass.

Have a good weekend,

Rick

From: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Sent: Friday, March 15, 2024 10:28 AM
To: Anthony Jenkins <anthony@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Compass - class cert motion

Anthony,

Following up on the below.


             Case 3:23-cv-00818-JAG-DCK                                                                                                                                                                                                              Document 296-2   Filed 04/05/24   Page 4 of 10
Best,
Nicole


From: Anthony Jenkins <anthony@aswtlawyers.com>
Sent: Wednesday, March 13, 2024 2:31 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Compass - class cert motion
Nicole, I’m working on getting a response to your email below to you later today, tomorrow the latest. Thanks BR, Anthony 714. 675. 1258 Anthony Jenkins | Arias Sanguinetti | (310) 844-9696 From: Mueller, Nicole C. <Nicole. Mueller@ klgates. com>




Nicole, I’m working on getting a response to your email below to you later today, tomorrow
the latest. Thanks

BR,
Anthony
714.675.1258


Anthony Jenkins |  Arias Sanguinetti  | (310) 844-9696

From: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Sent: Tuesday, March 12, 2024 8:40 AM
To: Anthony Jenkins <anthony@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Compass - class cert motion

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      open attachments unless you recognize the sender and know the content is safe]
Anthony,

We would like to schedule the depositions of Mr. Baldwin and Mr. Borrero. Please propose some
dates that will work on your end; we’re willing to agree to take the depositions remotely in order to
ensure that they are completed in March.

Best regards,
Nicole


From: Anthony Jenkins <anthony@aswtlawyers.com>
Sent: Friday, March 8, 2024 10:14 AM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Compass - class cert motion
Thanks Nicole. BR, Anthony 714. 675. 1258 Anthony Jenkins | Arias Sanguinetti | (310) 844-9696 From: Mueller, Nicole C. <Nicole. Mueller@ klgates. com> Sent: Friday, March 8, 2024 7: 17 AM To: Anthony Jenkins <anthony@ aswtlawyers. com>




Thanks Nicole.

BR,

             Case 3:23-cv-00818-JAG-DCK                                                                                                                                                                                                                  Document 296-2   Filed 04/05/24   Page 5 of 10
Anthony
714.675.1258


Anthony Jenkins |  Arias Sanguinetti  | (310) 844-9696

From: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Sent: Friday, March 8, 2024 7:17 AM
To: Anthony Jenkins <anthony@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Compass - class cert motion

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       open attachments unless you recognize the sender and know the content is safe]
Anthony,

Compass doesn’t object to your filing the brief and declaration publicly.

Thanks,
Nicole


From: Anthony Jenkins <anthony@aswtlawyers.com>
Sent: Thursday, March 7, 2024 6:29 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: Compass - class cert motion
Nicole, Attached is Dr. Kriegler’s declaration that I’ll be submitting with our motion for class certification on Monday. The facts in the class cert motion are the same as the last one we filed, with the addition of the attached




Nicole, Attached is Dr. Kriegler’s declaration that I’ll be submitting with our motion for class
certification on Monday. The facts in the class cert motion are the same as the last one we
filed, with the addition of the attached declaration and adding the Baldwin and Borrero
interrogatory responses.

We plan not to refile the exhibits we filed last time but simply cite to them with their Docket
numbers. Thus, the only exhibit we’ll file that even arguably contains information that
should be protected is Dr. Kriegler’s declaration.

I note that your side did not file anything under seal last time, which is why we think we
shouldn’t have to file anything under seal now.

Please let me know by the close of tomorrow if your side is insisting that we file a motion to
file our class cert brief under seal, otherwise we will just file it. Thanks.

BR,
Anthony
714.675.1258




             Case 3:23-cv-00818-JAG-DCK                                                                                                                                                                                                 Document 296-2   Filed 04/05/24   Page 6 of 10
Anthony Jenkins |  Arias Sanguinetti  | (310) 844-9696

From: Anthony Jenkins
Sent: Wednesday, March 6, 2024 1:47 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Moore v Compass - Dr. Kriegler Depo invoice

Nicole, there will be nothing other than what we included last time.

BR,
Anthony
714.675.1258


Anthony Jenkins |  Arias Sanguinetti  | (310) 844-9696

From: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Sent: Tuesday, March 5, 2024 9:04 PM
To: Anthony Jenkins <anthony@aswtlawyers.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Moore v Compass - Dr. Kriegler Depo invoice

       [CAUTION EXTERNAL E-MAIL: This email originated from Outside the Organization. DO NOT click or
       open attachments unless you recognize the sender and know the content is safe]
Anthony,

Without knowing what documents plaintiffs intend to cite or rely on, I can’t say whether or not
Compass will object to their disclosure. We’re happy to review a list of documents if you’d like to
provide them.

Best,
Nicole


From: Anthony Jenkins <anthony@aswtlawyers.com>
Sent: Tuesday, March 5, 2024 5:28 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Moore v Compass - Dr. Kriegler Depo invoice
Nicole, since Compass didn’t file their responsive brief on class certification under seal, we don’t intend to file our motion and brief under seal, but please let me know if your side believes we are required to do, in which case




Nicole, since Compass didn’t file their responsive brief on class certification under seal, we
don’t intend to file our motion and brief under seal, but please let me know if your side
believes we are required to do, in which case I’m asking that you please provide me with
the reason your side thinks so. Thanks


             Case 3:23-cv-00818-JAG-DCK                                                                                                                                                                                                  Document 296-2   Filed 04/05/24   Page 7 of 10
BR,
Anthony
714.675.1258



Anthony Jenkins |  Arias Sanguinetti  | (310) 844-9696

From: Anthony Jenkins <anthony@aswtlawyers.com>
Sent: Tuesday, February 20, 2024 1:09 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: Re: Moore v Compass - Dr. Kriegler Depo invoice

Nicole, please ask Compass to pay Dr. Kriegler's invoice by next week so we don't
have to bother the court with this. Thanks.

BR,

Anthony

714.675.1258



Anthony Jenkins | Arias Sanguinetti | (310) 844-9696




From: Anthony Jenkins
Sent: Friday, December 15, 2023 2:22 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: RE: Moore v Compass - Dr. Kriegler Depo invoice


Nicole, any update on when Compass will be paying Dr. Kriegler’s invoice? Please let me know. Thx.



BR,

Anthony

714.675.1258



Case 3:23-cv-00818-JAG-DCK              Document 296-2         Filed 04/05/24      Page 8 of 10
Anthony Jenkins | Arias Sanguinetti | (310) 844-9696




From: Anthony Jenkins
Sent: Sunday, October 22, 2023 12:04 PM
To: Mueller, Nicole C. <Nicole.Mueller@klgates.com>
Cc: Wylie, Joseph <joseph.wylie@klgates.com>; Richard S. Cornfeld <rick@ghalaw.com>
Subject: Moore v Compass - Dr. Kriegler Depo invoice
Importance: High



Nicole, attached is an invoice for Dr. Kriegler’s deposition, along with a W-9. Thank you.



BR,

Anthony

714.675.1258




Anthony Jenkins | Arias Sanguinetti | (310) 844-9696


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error, please contact me at Nicole.Mueller@klgates.com.-4

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error, please contact me at Nicole.Mueller@klgates.com.-4


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confidential and are intended for the use of the intended addressee(s) only. If you are not an intended addressee, note that
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error, please contact me at Nicole.Mueller@klgates.com.-4




Case 3:23-cv-00818-JAG-DCK                          Document 296-2                Filed 04/05/24            Page 10 of 10
